JS 44 (Rev, 12/12)

Case 2118 CV- 05088 OE SH ots Page 1 of 11

The JS 44 civil cover sheet and the information contained herein neither replace nor pene the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SH INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
ANDRE BRACY

(b) County of Residence of First Listed Plaintiff PHILADELPHIA
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Kirm Name, Address, and Telephone Number)
CRAIG THOR KIMMEL, KIMMEL & SILVERMAN, P.C.

30 EAST BUTLER PIKE, AMBLER, PA 19002
PHONE: (215) 540-8888 EXT. 116

DEFENDANTS

NOTE:

Attorneys (/f Known)

 

DIVERSIFIED CONSULTANTS, INC.

County of Residence of First Listed Defendant

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Il. BASIS OF JURISDICTION (Ptace an “x” in One Box Only)

 

(For Diversity Cases Only)

HI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box jor Plaintiff

and One Box for Defendant)
PTF EF

 

 

 

 

 

 

 

 

 

 

 

 

 

O11 US. Government EJ3 Federal Question PTF DEF
Plaintiff (U.S. Gavernment Not a Party) Citizen of This State O11 C1 1 Incorporated or Principal Place O4 4
of Business In This State
O12 US. Government (14 Diversity Citizen of Another State O12 (© 2 Incorporated and Principal Place Os O15
Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a O3 OF 3 Foreign Nation Oe 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only)
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
(110 Insurance PERSONAL INJURY PERSONAL INJURY |[1625 Drug Related Seizure (422 Appeal 28 USC 158 CJ 375 False Claims Act
CJ 120 Marine () 310 Airplane CJ 365 Personal Injury - of Property 21 USC 881 |[]) 423 Withdrawal C) 400 State Reapportionment
CJ 130 Miller Act 0 315 Airplane Product Product Liability (1690 Other 28 USC 157 C1 410 Antitrust
(1 140 Negotiable Instrument Liability C1 367 Health Care/ O 430 Banks and Banking
(150 Recovery of Overpayment |) 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 1 450 Commerce
& Enforcement of Judgment Slander Personal Injury CD 820 Copyrights UO 460 Deportation
(1151 Medicare Act (1) 330 Federal Employers’ Product Liability C830 Patent 0 470 Racketeer Influenced and
(1152 Recovery of Defaulted Liability CU 368 Asbestos Personal (1840 Trademark Corrupt Organizations
Student Loans (1) 340 Marine Injury Product 480 Consumer Credit
(Excludes Veterans) (J 345 Marine Product Liability LABOR SOCIAL SECURITY OD 490 Cable/Sat TV
(153 Recovery of Overpayment Liability PERSONAL PROPERTY |[1710 Fair Labor Standards (1 861 HIA (1395¢ff) C1 850 Securities/Commodities/
of Veteran’s Benefits 1 350 Motor Vehicle OD 370 Other Fraud Act C1 862 Black Lung (923) Exchange
D0 160 Stockholders’ Suits ( 355 Motor Vehicle DO 371 Truth in Lending (1720 Labor/Management (1863 DIWC/DIWW (405(g)) |[ 890 Other Statutory Actions
(190 Other Contract Product Liability 0 380 Other Personal Relations C1 864 SSID Title XV1 0 891 Agricultural Acts
(11195 Contract Product Liability |) 360 Other Personal Property Damage (1740 Railway Labor Act [1 865 RSI (405(g)) 0 893 Environmental Matters
C1 196 Franchise Injury C1 385 Property Damage (1751 Family and Medical C1 895 Freedom of Information
(J 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice (1790 Other Labor Litigation C1 896 Arbitration
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |[1791 Employee Retirement FEDERAL TAX SUITS C1 899 Administrative Procedure
LJ 210 Land Condemnation C1 440 Other Civil Rights Habeas Corpus: Income Security Act (J 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
DD 220 Foreclosure O 441 Voting 1 463 Alien Detainee or Defendant) Agency Decision
CD 230 Rent Lease & Ejectment OO 442 Employment (1 510 Motions to Vacate (1871 IRS—Third Party 0 950 Constitutionality of
(1 240 Torts to Land 1 443 Housing/ Sentence 26 USC 7609 State Statutes
(245 Tort Product Liability Accommodations 1 530 General
[290 All Other Real Property OD 445 Amer. w/Disabilities |] 535 Death Penalty IMMIGRATION
Employment Other: (1462 Naturalization Application
OO 446 Amer. w/Disabilities |] 540 Mandamus & Other |[465 Other Immigration
Other ( 550 Civil Rights Actions
0 448 Education 0 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (lace an “x” in One Box Only)
J 1 Original LJ 2 Removed from
Proceeding State Court

LJ 3° Remanded from
Appellate Court

L|4

Reinstated or
Reopened

u

(specify)

5 Transferred from |] 6 Multidistrict

Another District Litigation

 

' VI. CAUSE OF
ACTION

15 U.S.C. § 1692 et seq.

 

VII. REQUESTED IN 1° CHECK IF THISIS

Brief description of cause:
FAIR DEBT COLLECTION PRACTICES ACT

A CLASS ACTION

DEMAND §

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity):

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: ElYes (No
VIII. RELATED CASE(S)
IF ANY (Ee eae JUDGE  £# ~~~ DOCKET NUMBER BO
DATE SIGNATURE OF ATTORNEY OF RECORD
09/08/2015 =" Y/ |
FOR OFFICE USE ONLY ee
RECEIPT # AMOUNT APPLYING IF

 

JUDGE

MAG. JUDGE
Case 2:15-cv-05033-LDD Document1 Filed 09/09/15 Page 2 of 11
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff 571 Bast Cheltenham Avenue, Philadelphia, PA 19120
Address of Defendant, 10550 Deerwood Park Boulevard, Suite 309, Jacksonville, FL 32256

 

Place of Accident, Incident or Transaction:

 

(Use Reverse Side Far Additional Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)) YesO NoB
Does this case involve multidistrict litigation possibilities? YesO NoS
RELATED CASE, IF ANY:

Case Number: Judge Date Terminated:

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

YesO No
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yes wold

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? YesO Noll

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

 

YesO Nok
CIVIL: (Place @ iff ONE CATEGORY ONLY)
A. Federal Question Cases: B. Diversity Jurisdiction Cases:
1. O Indemnity Contract, Marine Contract, and All Other Contracts 1. O Insurance Contract and Other Contracts
2. O FELA 2. Airplane Personal Injury
3. O Jones Act-Personal Injury 3. O Assault, Defamation
4, O Antitrust 4. O Marine Personal Injury
5. G Patent 5. GO Motor Vehicle Personal Injury
6. O Labor-Management Relations 6. O Other Personal Injury (Please specify)
7, O Civil Rights 7. Q Products Liability
8. GO Habeas Corpus 8. O Products Liability — Asbestos
9. O Securities Act(s) Cases 9. O All other Diversity Cases
10.0 Social Security Review Cases (Please specify)

 

11.8 All other Federal Question Cases
(Please specify) 15 U.S.C. § 1692 et seq.

 

ARBITRATION CERTIFICATION

(Check Appropriate Category)
| CRAIG THOR KIMMEL . counsel of record Ao hereby certify:

O Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best op knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
QO Relief other than monetary damages is sought.

 

DATE: 09-08-15 ZL L 57100
Attorney-at-Law, Attorney IL.D.#
NOTE: A trial de novo will be afrial ae only if there has been compliance with F.R.C-P, 38.
ye

 

 

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court

] cs

Attomey-at- Law ff Attorney I.D.#

except as noted above.

 

DATE: 09-08-15

CIV, 609 (3/2012) /
Case 2:15-cv-05033-LDD Document1 Filed 09/09/15 Page 3 of 11

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

 

CIVIL ACTION

ANDRE BRACY
V.
DIVERSIFIED CONSULTANTS, INC.

NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve acopy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2, (X)

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(ec) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

management cases.) ( )
(f) Standard Management — Cases that dojnot fall into any one of the other tracks. ( )
09-08-15 /\ Plaintiff, Andre Bracy
Date Someree Attorney for
215-540-8888 x 116 877-788-286 kimmel@creditlaw.com

 

 

Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
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Case 2:15-cv-05033-LDD Document1 Filed 09/09/15 Page 4 of 11

UNITED STATES DISTRICT COURT
FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

ANDRE BRACY, )
)
Plaintiff, )
) Case No.:
V. )
) COMPLAINT AND DEMAND FOR
DIVERSIFIED CONSULTANTS, ) JURY TRIAL
INC., )
) (Unlawful Debt Collection Practices)

Defendant.

 

 

 

COMPLAINT
ANDRE BRACY (“Plaintiff”), by and through his attorneys, KIMMEL &
SILVERMAN, P.C., alleges the following against DIVERSIFIED
CONSULTANTS, INC. (“Defendant”):
INTRODUCTION
1. Plaintiffs Complaint is based on the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692 et seq. (““FDCPA”).
JURISDICTION AND VENUE
2. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
which states that such actions may be brought and heard before “any appropriate

United States district court without regard to the amount in controversy,” and 28

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PLAINTIFF’S COMPLAINT

 
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Case 2:15-cv-05033-LDD Document1 Filed 09/09/15 Page 5 of 11

U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
under the laws of the United States.

a Defendant conducts business in the Commonwealth of Pennsylvania
and as such, personal jurisdiction is established.

4, Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

PARTIES

5. Plaintiff is a natural person residing in Philadelphia, Pennsylvania
19120.

6. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
1692a(3).

7. In the alternative, Plaintiff is a person granted a cause of action under
the FDCPA. See 15 U.S.C. § 1692k(a) and Wenrich v. Cole, 2000 U.S. Dist.
LEXIS 18687 (E.D. Pa. Dec. 22, 2000).

8. Defendant is a national debt collection company with its corporate
headquarters located at 10550 Deerwood Park Boulevard, Suite 309, Jacksonville,
Florida 32256.

a. Defendant is a “debt collector” as that term is defined by 15 U.S.C. §

1692a(6), and repeatedly contacted Plaintiff in an attempt to collect a debt.

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PLAINTIFF?S COMPLAINT

 
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10. Defendant acted through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers.

FACTUAL ALLEGATIONS

11. At all relevant times herein, Defendant was attempting to collect a
consumer debt and contacted Plaintiff in an attempt to collect that debt.

12. Plaintiff never incurred any debt in connection with a business or
commercial activities, and therefore, the debt if truly an obligation owed by him,
could only have arisen from a financial obligation for primarily personal, family,
or household purposes.

13. Beginning in or around May 2015, and continuing through late July
2015, Defendant placed repeated telephone calls to Plaintiffs cellular telephone in
its attempts to collect the aforementioned debt.

14. When contacting Plaintiff, Defendant refused to disclose its identity
or its purpose, although Plaintiff repeatedly asked for this information.

15. Plaintiff believes Defendant’s calls may have been intended for his
wife; however, he was unable to confirm this fact as Defendant withheld its
information.

16. In June 2015, Plaintiff instructed Defendant to stop calling, but
Defendant failed to update its records to cease calls to Plaintiff's cellular

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PLAINTIFF’S COMPLAINT

 
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Case 2:15-cv-05033-LDD Document1 Filed 09/09/15 Page 7 of 11

telephone.

17. Instead, Defendant continued to contact Plaintiff on his cellular
telephone, calling as frequently as three (3) to four (4) times a day.

18. For example, Defendant called Plaintiff on July 29, 2015, at 10:09
a.m. and 12:08 p.m.; and July 30, 2015, at 9:24 a.m., 3:39 p.m., and 4:44 p.m.

19. Finally, within five (5) days within its initial communication with
Plaintiff, Defendant failed to send written notification of his rights to dispute the
debt and/or to request verification of the debt, as well as providing the amount of
the debt and the name of the original creditor.

20. Defendant’s actions as described herein, were taken with intent to
annoy, abuse, and harass Plaintiff in connection with the collection of a debt.

DEFENDANT VIOLATED THE
FAIR DEBT COLLECTION PRACTICES ACT

COUNT I

21. Defendant’s conduct, as detailed in the preceding paragraphs, violated

15 U.S.C. §§ 1692d and 1692d(5) of the FDCPA.
a. A debt collector violates § 1692d of the FDCPA by engaging in

conduct the natural consequence of which is to harass, oppress,

or abuse any person in connection with the collection of a debt.

b. A debt collector violates § 1692d(5) of the FDCPA by causing

a telephone to ring or engaging any person in telephone

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PLAINTIFF’S COMPLAINT

 
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conversation repeatedly or continuously with intent to annoy,
abuse, or harass any person at the called number.
Ds Here, Defendant violated §§ 1692d and 1692d(5) of the
FDCPA when it repeatedly contacted Plaintiff on his cellulan
telephone, and when it continued to contact Plaintiff after being
expressly told to stop.
COUNT I
22. Defendant’s conduct, as detailed in the preceding paragraphs, violated
15 U.S.C. § 1692d(6) of the FDCPA.
a. A debt collector violates § 1692d(6) of the FDCPA by placing
telephone calls without meaningful disclosure of the caller’s
identity.
b. Here, Defendant violated § 1692d(6) of the FDCPA by calling
Plaintiff multiple times without providing meaningful
disclosure of its identity.
COUNT III
23. Defendant’s conduct, as detailed in the preceding paragraphs, violated
15 U.S.C. §§ 1692e, 1692e(10), and 1692e(11) of the FDCPA.
a. A debt collector violates § 1692e of the FDCPA by using any
false, deceptive or misleading representations or means in

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PLAINTIFF’S COMPLAINT

 
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24.

15 U.S.C. § 1692g of the FDCPA.

Defendant’s conduct, as detailed in the preceding paragraphs, violated

connection with the collection of any debt.
A debt collector violates § 1692e(10) of the FDCPA by using
any false representation or deceptive means to collect on
attempt to collect a debt or to obtain information concerning al
consumer.
A debt collector violates § 1692e(11) of the FDCPA by failing
to disclose in the initial written communication with the
consumer and, in addition, if the initial communication is oral,
in that initial oral communication, that the debt collector is
attempting to collect a debt and that any information obtained
will be used for that purpose, and the failure to disclose in
subsequent communications that the communication is from a
debt collector.
Here, Defendant violated §§ 1692e, 1692e(10), and 1692e(11)
of the FDCPA when it failed to disclose during initial and
subsequent collection calls that it was attempting to collect a
debt.

COUNT IV

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PLAINTIFF’S COMPLAINT

 
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a.

A debt collector violates § 1692g(a) if within five days after the
initial communication with a consumer, the debt collector fails
to send the consumer a written notice containing (1) the amount
of the debt; (2) the name of the creditor to whom the debt is
owed; (3) a statement that unless the consumer, within thirty
days after receipt of the notice, disputes the validity of the debt,
or any portion thereof, the debt will be assumed to be valid by
the debt collector; (4) a statement that if the consumer notifies
the debt collector in writing within the thirty-day period that the
debt, or any portion thereof, is disputed, the debt collector will
obtain verification of the debt or a copy of a judgment against
the consumer and a copy of such verification or judgment willl
be mailed to the consumer by the debt collector; and (5) a
statement that, upon the consumer's written request within the
thirty-day period, the debt collector will provide the consumer
with the name and address of the original creditor, if different
from the current creditor.
Here, Defendant violated § 1692g(a) by failing to send written!
notification, within five (5) days after its initial communication
with Plaintiff, advising him of his rights to dispute the debt on

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PLAINTIFF’S COMPLAINT

 
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Case 2:15-cv-05033-LDD Document 1 Filed 09/09/15 Page 11 of 11

request verification of the debt.
WHEREFORE, Plaintiff, ANDRE BRACY, respectfully prays for a
judgment as follows:
a. All actual damages suffered pursuant to 15 U.S.C.
§1692k(a)(1);
b. Statutory damages of $1,000.00 for the violation of the FDCPA
pursuant to 15 U.S.C. §1692k(a)(2)(A);
€. All reasonable attorneys’ fees, witness fees, court costs and
other litigation costs incurred by Plaintiff pursuant to 15 U.S.C:
§1693k(a)(3); and
d. Any other relief deemed appropriate by this Honorable Court.
DEMAND FOR JURY TRIAL
PLEASE TAKE NOTICE that Plaintiff, ANDRE BRACY, demands a jury
trial in this case.
RESPECTEULLY SUBMITTED,
xe
Date: 09-08-15 By: 4]
CRAIG THOR KIMMEL
Attorney ID No. 57100
Kimmel & Silverman, P.C.
30 E. Butler Pike
Ambler, PA 19002
Phone: (215) 540-8888

Fax: (877) 788-2864
Email: kimmel@creditlaw.com

 

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PLAINTIFF’S COMPLAINT

 
